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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF MARYLAND
                                 Southern Division

                                                     )
IN RE:                                               )
                                                     )       19-15478-WIL
LUIS CORREA,                                         )       Chapter 7
                                                     )
       Debtor.                                       )
                                                     )

                                                     )
THE BANK OF NEW YORK MELLON, as                      )
Trustee for Structured Asset Mortgage                )
Investments II Inc. Mortgage Pass-Through            )
Certificates Series 2005-AR8                         )
                                                     )
       Movant                                        )
                                                     )
vs.                                                  )
                                                     )
JANET M. NESSE, Chapter 7 Trustee/                   )
Respondent                                           )
                                                     )
and                                                  )
                                                     )
LUIS FERNANDO CORREA,                                )
                                                     )
Debtor/ Respondent.                                  )
                                                     )

                             OPPOSITION TO MOTION FOR
                            RELIEF FROM AUTOMATIC STAY
                        (23803 Branchbrier Way, Clarksburg MD 20871)

       Janet M. Nesse, the Chapter 7 Trustee (the “Trustee”) for Luis Fernando Correa (the

“Debtor”) the debtor in the above-captioned case, files this opposition to the Motion for Relief

from the Automatic Stay (the “Motion,” Docket No. 13) filed by The Bank of New York Mellon,

as Trustee for Structured Asset Mortgage Investments II Inc. Mortgage Pass-Through
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Certificates Series 2005-AR8 (“Movant”), seeking relief from stay with respect to the real

property located at 23803 Branchbrier Way, Clarksburg MD 20871 (the “Property”), and, with

respect to each paragraph of the Motion, states as follows:

       1.      The allegations of paragraph 1 of the Motion are affirmed.

       2.      The allegations of paragraph 2 of the Motion are affirmed.

       3.      The Trustee lacks sufficient information to respond to the allegations of paragraph

3 of the Motion, and therefore the Trustee denies the same, and demands strict proof thereof.

       4.      The allegations of paragraph 4 of the Motion are affirmed.

       5.      The allegations of paragraph 5 of the Motion are affirmed.

       6.      The Trustee lacks sufficient information to respond to the allegations of paragraph

6 of the Motion, and therefore the Trustee denies the same, and demands strict proof thereof.

       7.      The Trustee lacks sufficient information to respond to the allegations of paragraph

7 of the Motion, and therefore the Trustee denies the same, and demands strict proof thereof.

       8.      The Trustee lacks sufficient information to respond to the allegations of paragraph

8 of the Motion, and therefore the Trustee denies the same, and demands strict proof thereof.

       9.      The Trustee lacks sufficient information to respond to the allegations of paragraph

9 of the Motion, and therefore the Trustee denies the same, and demands strict proof thereof.

       10.     The allegations of paragraph 10 of the Motion are affirmed.

       11.     The Trustee lacks sufficient information to respond to the allegations of paragraph

11 of the Motion, and therefore the Trustee denies the same, and demands strict proof thereof.

       WHEREFORE, the Trustee requests that the (i) Motion be denied; or (ii) the Court enter

an order allowing the Trustee an appropriate amount of time to sell the Property, and that the

Court grant such other relief as it deems appropriate and proper.



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Dated: May 8, 2019                   Respectfully submitted,


                                     /s/ Justin P. Fasano
                                     Janet M. Nesse, Esq (MDB # 07804)
                                     Justin P. Fasano, Esq. (MDB # 28659)
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                                     Attorneys for Janet N., Chapter 7 Trustee for Luis
                                     Fernando Correa

                                CERTIFICATE OF SERVICE

       I certify that on May 8, 2019, a copy of the foregoing Opposition to Motion for Relief from

the Automatic Stay was served by CM/ECF, to all parties receiving notice thereby, which includes

the following attorneys:

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                                                    /s/ Justin P. Fasano
                                                    Justin P. Fasano




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